ara nein ference dn ch vf et diariogfetcnnkee ES Wa Fw

 

 

 

 

 

 

 

AO 243 (Rev. 01/15) 1 : Page 2
MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR th ( ae re QuRt

SENTENCE BY A PERSON IN FEDERAL CUSTODY FILED ~ PW
United States District Court | District 218 WAR 22 Dp 44
Name (under which you were convicted): , Docket or Case No.: ;

RAMON E. RIVERA STEP HEN C. ppire
Place of Confinement: USP McCreary, P.O. BOX 3000 Prisoner No.: ULERK
~ Pine Knot, KY 42635 13553-089
UNITED STATES OF AMERICA : Movant (include name under which convicted)
| v. RAMON E. RIVERA

 

 

 

- MOTION

1. (a) Name and location of court which entered the judgment of conviction you are challenging:

United States District Court for the Eastern District of Wisconsin
517 East Wisconsin Avenue, Room 362
Milwaukee, WI 53202

 

(b) Criminal docket or case number (if you know): —_15-CR-51

 

2. (a) Date of the judgment of conviction (if you know): Nevember 12,°.2015
(b) Date of sentencing: _. February 4, 2016

 

 

U2

Length of sentence: 32 Years incarceration

 

4, Nature of crime (all counts): Was originally charged with five counts of Hobbs Act
Robbéry, and five counts of brandishing a firearm in furtherence of a crime
of violence. Eventually, I pleadsguilty to two counts of violating 18 USC
§ 994(c).

 

t
5. (a) What was your plea? (Check one)

(1) Not guilty [| (2) Guilty _ (3) Nolo contendere (no contest)

(b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or
what did you plead guilty to and what did you plead not guilty to?

 

6. Ifyou went to trial, what kind of trial did you have? (Check one) _ Jury [| ' Judge only
7. Did you testify at a pretrial hearing, trial, or post-trial hearing? Yes [| No [|
8. Did you appeal from the judgment of conviction? Yes [| No

Case 2:18-cv-00459-JPS Filed 03/22/18 Page 1of12 Document 1
ve eanestbuncinauainesitiniydnipttinncrnterst nanan thence es

AO 243 (Rev. 01/15) Page 3

9. Ifyou did appeal, answer the following:
(a) Name ofcourt: Y.S. Court of Appeals for the Seventh Circuit.
(b) Docket or case number (if you know): No. 16-1322
(c). Result: Conviction andeSentence was affirmed.
(d) Date of result (if you know): February 3, 2017
(e) Citation to the case (if youknow); U.S. v. Rivera, 847 F.3d 847 (7th Cir. 2017)

. (f) Grounds raised: (1) Whether the Hobbs Act robbery qualifies as a "crime of
violence under 18 USC § 924{¢); and (2) Whether the Judge committed procedural
error by saying he was "obliged’’ to impose a five year supervised release term.

 

 

 

 

 

(g) Did you file a petition for certiorari in the United States Supreme Court? Yes No
If “Yes,” answer the following: .
(1) Docket or case number (if you know): 16-8980

(2) Result: Cart was denied.

 

 

(3) Date of result (if you know): June 5, 2017
(4) Citation to the case (if you know): _ Rivera v. United States,:137 S$. Ct. 2228 (2017)

(5) Grounds raised: Whether Mr. Rivera's § 924(c) convictions foor brandishing
a firearm during a crime of violence must be vacated because the Hobbs Act robbery
offenses underlying the § 924(c) convictions, categorically fail to qualify as
crimes of violence within the meaning of § 924(c)(3)(A), and the residual clause
of § 924(c)(3)(B) is unconstitutionally vauge under Johnson v. United States, 135
S. Ct. 2554 (2015)

 

 

10. Other than the direct appeals listed above, have you previously: filed any other motions, petitions, or applications,
concerning this judgment of conviction in any court?

Yes|_| NoLX!

  
 

11. Ifyour answer to Question 10 was “Yes,” give the following information:
(a) (1) Name of court: » ; N/A

 

(2) Docket or case number (if you know):
(3) Date of filing Gf you know):

 

 

 

(4) Nature of the proceeding: . N/A
(5) Grounds raised:

 

 

Case 2:18-cv-00459-JPS Filed 03/22/18 Page 2of12 Document 1
 

AO 243 (Rev. 01/15) Page 4

N/A

 

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?

Yes No

(7) Result:
(8) Date of result (if you know):
(b) Ifyou filed any second motion, petition, or application, give the same information:
(1) Name of court:

 

 

 

(2) Docket of case number (if you know):
(3) Date of filing (if you know):
(4) Nature of the proceeding: N/A

(5) Grounds raised:

 

 

 

N/A

 

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?

Yes No [ |

(7). Result:
(8) Date of result (if you know):

(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,

or application?

(1) First petition: Yes No [|
(2) Second petition: Yes. No [| N/A

. (d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you did not:

 

 

N/A

 

12. For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
supporting each ground.

Case 2:18-cv-00459-JPS Filed 03/22/18 Page 3 of 12 Document 1
 

AO 243 (Rew. 01/15)

Page 5

GROUND ONE: Local retail Robberies are outside the jurisdiction of thé Hobbs Act
as explained in both Lopez, 514 U.S. 549 & Morrison, 529 U.S. 598.

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your clarm.):

See attached Brief

 

(b) Direct Appeal of Ground One:

(¢)

(1) Ifyou appealed from the judgment of conviction, did you raise this issue?
Yes [] No

(2) Ifyou did not raise this issue in your direct appeal, explain why:

Jurisdictional issues can be raised at any time.

 

Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes [| No {| N/A

(2) Lf you aniswer to Question (c){1) is “Yes,” state:

Type of motion or petition:

 

- Name and location of the court where the motion or petition was filed:

 

Docket or case number Gf you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

N/A

 

(3) Did you receive a hearing on your motion, petition, or application?
Yes [] No
(4) Did you appeal from the denial of your motion, petition, or application?

Yes [| No[_| N/A

(5) Lf your answer to Question (c)(4) is “Yes.” did you raise the issue in the appeal?

yes{_] No

Case 2:18-cv-00459-JPS_ Filed 03/22/18 Page 4o0f 12 Document 1
AO 243 (Rev. 01/15) Page 6
(6) Ifyour answer to Question (c)(4) is “Yes,” state:
Name and location of the court where the appeal was filed:
N/A

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

N/A

 

(7) Ifyour answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue: ~

N/A

 

GROUND TWO: § must be vacated in light of both
Johnson, 136 S. Ct. 2551/ i018) & Mathis, 137 S. Ct. 2243 (2016).

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

See attached Brief.

 

(b) Direct Appeal of Ground Two:
(1) Ifyou appealed from the judgment of conviction, did you raise this issue? _

Yes No

(2) Ifyou did not raise this issue in your direct appeal, explain why:
N/A

 

(c) Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes Ld Not

Case 2:18-cv-00459-JPS Filed 03/22/18 Page5of12 Document 1

 
 

AO 243 (Rev. 01/15) Page 7
(2) Ifyou answer to Question (c)(1) is “Yes,” state:
Type of motion or petition: N/A

 

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?

vesL_] nol] N/A

(4) Did you appeal from the denial of your motion, petition, or application?

Yes No

(5) Ifyour answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes No

(6) Ifyour answer to Question (c)(4) is “Yes,” state:

 

Name and location of the court where the appeal was filed:

Docket or case number (if-you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

N/A

 

(7) Ifyour answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

N/A

 

 

‘GROUND THREE:
N/A
(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

 

Case 2:18-cv-00459-JPS Filed 03/22/18 Page 6 of 12 Document 1
 

AO 243 (Rev. 01/15)

N/A

Page &

 

(b) Direct Appeal of Ground Three:

(c)

(1) Ifyou appealed from the judgment of conviction, did you raise this issue?
Yes No

(2) Ifyou did not raise this issue in your direct appeal, explain why:

N/A

 

Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes - No [| |

(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed: vt

 

Docket or case number (if you know): .

 

Date of the court’s decision: - N/A

 

Result (attach a copy of the court’s opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?

-Yes No

(4) Did you appeal from the denial of your motion, petition, or application?
Yes L | No L | . N/A

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes No

.(6) Ifyour answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:
N/A

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result ( attach a copy of the court’s opinion or order, if available):

N/A

 

Case 2:18-cv-00459-JPS Filed 03/22/18 Page 7 of 12 Document 1
 

" AO 243 (Rev. 01/15) Page 9
(7) Ifyour answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

N/A

 

GROUND FOUR:

 

N/AY.

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

i

N/A

 

(b) Direct Appeal of Ground Four:
(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes No N/A

(2) If you did not raise this issue in your direct appeal, explain why:

 

(c) Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes No Lj N/A

(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

Date of the court’s decision: N/A

 

 

Result (attach a copy of the court’s opinion or order, if available):

 

Case 2:18-cv-00459-JPS Filed 03/22/18 Page 8of12 Document 1
 

AO 243 (Rev. 01/15) : Page 10

(3) Did you receive a hearing on your motion, petition, or application?

Yes No | N/A

(4) Did you appeal from the denial of your motion, petition, or application?

Yes No

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [. No

(6) Ifyour answer to Question (c)(4) is “Yes,” state:

 

 

Name and location of the court where the appeal was filed:
N/A

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

N/A

 

(7) Tfyour answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

N/A

 

13. Is there any ground in this motion that you have not previously presented in some federal court? If so, which
ground or grounds have not been presented, and state your reasons for not presenting them:

Petitioner raises a jurisdictional challenge herein that has never been raised

in any other.proceeding connected to this case.

 

14. Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the
you are challenging? Yes No

If “Yes,” state the name and location of the court, the docket or case number, the type of proceeding, and the

issues raised.

N/A

 

Case 2:18-cv-00459-JPS Filed 03/22/18 Page 9 of 12 Document 1
 

AO 243 (Rev, 01/15) Page 11

15.

16.

17.

18.

Give the name and address, if known, of each attorney who represented you in the following stages of the .
you are challenging:

(a) At the preliminary hearing:

 

(b) At the arraignment and plea:

Martin J. Pruhs, 757 N. Broadway, Suite 401, Milwaukee, WI 53202
(c) Atthe trial: =

Same as above

 

(d) At sentencing:

Same as above.

 

(e) On. appeal:
Johanna M. Christiansen, 401 Main Street, suite 1500, Peoria, IL 61602

 

(f} In any post-conviction proceeding:
N/A

(g) On appeal from any ruling against you in a post-conviction proceeding:

 

N/A

 

Were you sentenced on more than one court of an indictment, or on more than one indictment, in the same court
and at the same time? Yes| X | No

 

Do you have any future sentence to serve after you complete the sentence for the judgment that you are
challenging? Yes x.

(a) Ifso, give name and location of court that imposed the other sentence you will serve in the future:

 

N/A

 

(b) Give the date the other sentence was imposed:
(c) Give the length of the other sentence:

 

 

(d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or’
sentence to be served in the future? Yes [| No

TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion.*

This motion is timely since petitioner's certiorari was denied on June 5,
2017. KA

 

Case 2:18-cv-00459-JPS Filed 03/22/18 Page 10o0f12 Document 1
AO 243 (Rev. 01/15) Page 12

 

 

* The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) as contained in 28 U.S.C. § 2255,
paragraph 6, provides in part that:
A one-year period of limitation shall apply to a motion under this section. The limitation period shall run
from the latest of —
(1) the date on which the judgment of conviction became final;
(2) the date on which the impediment to making a motion created by governmental action in violation of
the Constitution or laws of the United States is removed, if the movant was prevented from making such a
motion by such governmental action;
(3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has
been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
review; Or
(4) the date on which the facts supporting the claim or r claims presented could have been discovered
through the exercise > of due diligence.

Case 2:18-cv-00459-JPS Filed 03/22/18 Page 11o0f12 Document 1
 

 

AO 243 (Rev. 01/15) Page 13

Therefore, movant asks that the Court grant the following relief:

All of the relief requested in the attached brief.
or any other relief to which movant may be entitled.

N/A
Signature of Attorney (if any)

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Motion
under 28 U.S.C. § 2255 was placed in the prison mailing system on March 17, 2018.
(month, date, year)

 

Executed (signed) on March 17, 2018. (date)

\Sionature of Movant RAMON ‘E. RIVERA

 

If the person signing is not movant, state relationship to movant and explain why movant is not signing this motion.

   

ae

Be

 

Case 2:18-cv-00459-JPS Filed 03/22/18 Page 12 of12 Document 1
